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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS

                                     SHERMAN DIVISION

VIRGINIA INNOVATION SCIENCES,
INC.,
                                                   Civil Action No. ______________
                       Plaintiff,

       v.
                                                   JURY TRIAL DEMANDED
AMAZON.COM, INC.,

                       Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Virginia Innovation Sciences, Inc. (“VIS” or “Plaintiff”), for its Complaint

against Defendant Amazon.com, Inc. (“Amazon” or “Defendant”), alleges the following:

                                    NATURE OF THE ACTION

       1. This is an action for patent infringement arising under the Patent Laws of the United

States, 35 U.S.C. § 1 et seq.

                                          THE PARTIES

       2. Plaintiff is a corporation organized under the laws of the State of Virginia with a

place of business at 6301 Edsall Road #517, Alexandria, Virginia 22312.

       3. Upon information and belief, Defendant Amazon is a corporation organized and

existing under the laws of Delaware, with its principal place of business located at 410 Terry

Avenue North, Seattle, WA 98109, and can be served through its registered agent, Corporation

Service Company, 2711 Centerville Rd, Suite 400, Wilmington, DE 19808. Upon information

and belief, Amazon sells and offers to sell products and services throughout the United States,

including in this judicial district, and introduces products and services that into the stream of

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commerce and that incorporate infringing technology knowing that they would be sold in this

judicial district and elsewhere in the United States.

                                    JURISDICTION AND VENUE

        4.     This is an action for patent infringement arising under the Patent Laws of the

United States, Title 35 of the United States Code.

        5.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

        6.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 and 1400(b)

because, among other things, Defendant is subject to personal jurisdiction in this Judicial

District, has a regular and established place of business in this judicial district including Amazon

Fulfillment Centers in this judicial district, has purposely transacted business involving the

accused products in this judicial district, including sales to one or more customers in Texas, and

certain of the acts complained of herein occurred in this judicial district.

        7.     On information and belief, Defendant is subject to this Court’s general and

specific personal jurisdiction because it has sufficient minimum contacts within the State of

Texas and this District, pursuant to due process and/or the Texas Long Arm Statute because

Defendant purposefully availed itself of the privileges of conducting business in the State of

Texas and in this District, because Defendant regularly conducts and solicits business within the

State of Texas and within this District, and because Plaintiff’s causes of action arise directly

from each of Defendant’s business contacts and other activities in the State of Texas and this

District.

               COUNT I – INFRINGEMENT OF U.S. PATENT NO. 9,912,983

        8.     The allegations set forth in the foregoing paragraphs 1 through 7 are incorporated

into this First Claim for Relief.



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       9.      On March 6, 2018, U.S. Patent No. 9,912,983 (“the ’983 patent”), entitled

“METHOD AND SYSTEM FOR EFFICIENT COMMUNICATION,” was duly and legally

issued by the United States Patent and Trademark Office. A true and correct copy of the ’983

patent is attached as Exhibit 1.

       10.     The inventions of the ’983 patent resolve technical problems related to the use of

an apparatus for information processing, item status monitoring, and facilitating electronic

communications. For example, the ’983 patent overcomes limitations in the prior art relating to

efficiently delivering multimedia information content received over a wireless communication

network. The ’983 patent also overcomes limitations in the prior art relating to providing alerts

as to the status of an item in real time and over the internet or other next-generation wireless

communication network. Furthermore, the ’983 patent overcomes limitations in the prior art

relating to efficiently transmitting a signal to increase household inventory of an item and

processing a purchase request for the item.

       11.     The inventions allow a user to efficiently set up a system comprising a hub

capable of processing a signal corresponding to an information content for production. The

inventions further teach a device (such as a sensor) coupled to the hub and sensing a status of an

item, such that the hub can be information of a status update and notify a user device

accordingly. The inventions further teach a hub and management center system to communicate

with each other to facilitate retrieval of a compressed information content requested from the hub

and its production by a digital television. In this respect, the inventions of the ’983 patent enable

a user to create a multi-function system capable of handling a variety of household automation

tasks with fewer devices than individually.




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       12.     The inventions also allow a user to efficiently set up a system comprising a

wireless transmitter and a central controller to facilitate secure receipt and performance of action

requests such as payment requests.

       13.     The claims of the ’983 patent recite an invention that is not merely a routine or

conventional use of a wireless hub, management center, or other information processing system.

The ’983 patent claims specify how signals are received and transmitted over various channels to

perform different functions. For instance, the invention relies on using a mapping table and a

unique hub identifier to efficiently process incoming requests for multimedia content and route

decompressed content to the appropriate destination.

       14.     The claims of the ’983 patent recite an invention that is not merely the routine or

conventional use of a wireless transmitter or central controller. A stated advantage is that the

’983 patent recites a secure communication channel separate from a short range wireless

communication channel, thereby providing greater bandwidth and range to accommodate

additional, more detailed communications related to the action request.

       15.     The technology claimed in the ’983 patent does not preempt all ways of using

wireless hub based decoding or monitoring systems, wireless transmitters, or central controllers

or information management systems, nor preempt the use of all wireless hub based decoding or

monitoring systems, wireless transmitters, or central controllers or information management

systems , nor preempt any other well-known or prior art technology.

       16.     Accordingly, each claim of the ’983 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.




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       17.     Plaintiff is the assignee and owner of the right, title and interest in and to the ’983

patent, including the right to assert all causes of action arising under said patents and the right to

any remedies for infringement of them.

       18.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 3, 22, 25, 110, and 128 of the ’983 patent by making, using, selling, importing

and/or providing and causing to be used the following instrumentalities, including but not limited

to the Amazon Echo, Echo Plus, Echo Show, and Amazon Cloud Cam devices, along with


Amazon’s Alexa voice service and associated back-end servers (the “Accused Echo

Instrumentalities”); the Amazon Fire TV family of devices and associated back-end servers (the

“Accused Fire TV Instrumentalities”); and the Amazon Dash Button, Dash Replenishment

Service, and associated back-end servers (the “Accused Dash Instrumentalities”).

       19.     In particular, claim 22 of the ’983 patent recites a wireless hub system configured

to receive, through a wireless communication network and via an input interface, a wireless

signal, decompress the signal with a decoder, and convert it for production. The wireless hub

system is further configured to communicate information for managing an item status of an item

in connection with a short range wireless communication regarding an updated status of the item.

       20.     Claim 25 depends from claim 22 and further recites that the wireless hub is

configured to communicate a video from a video camera to a user’s terminal at least in part

through a cellular network. The Accused Echo Instrumentalities infringe claims 22 and 25 of the

’983 patent. By way of example, the Amazon Echo/Show and Echo Plus devices each act as

wireless hub system to interact with smart home devices. See, e.g.:




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(https://www.amazon.com/Echo-Plus-built-Hub-included/dp/B075RWFCHB.)

       21.     The Accused Echo Instrumentalities support dual-band wi-fi for an 802.11

a/b/g/n/ac network (e.g., a wireless communication network). To support 802.11, the Accused

Echo Instrumentalities include an input interface configured to receive a wireless signal through

a wireless communication network. See, e.g., https://www.amazon.com/Echo-Plus-built-Hub-

included/dp/B075RWFCHB.

       22.     The Accused Echo Instrumentalities include, among other components, an audio

codec (e.g., a coder/decoder) for decompression and playback of compressed audio signals. To

support playback of audio, Accused Echo Instrumentalities similarly include an audio codec for

decompression and playback of compressed audio signals. See e.g.:

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(https://www.ifixit.com/Teardown/Amazon+Echo+Teardown/33953, evidencing Texas

Instruments (TLV320DAC3203); see also http://www.ti.com/lit/ds/symlink/tlv320dac3203.pdf.

        23.   As evidenced by the list of supported formats, the Accused Echo Instrumentalities

support encoded/compressed data; thus, the Accused Echo Instrumentalities include a decoder.

See, e.g.:




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(https://forums.developer.amazon.com/articles/38590/alexa-audioplayer-approved-formats.html.)

       24.     To support 802.11 communication, the Accused Echo Instrumentalities support

communications of the 7 layer Open Systems Interconnected (OSI) model (includes lower level

layers, i.e., layer 1 communications and layer 2 communications, which support wi-fi), in

addition to higher level layers (e.g., layer 3 – network layer, layer 4 – transport layer, layer 5 –

session layer, layer 6 – presentation layer, and layer 7 – application layer).

       25.     The Accused Echo Instrumentalities support 802.11 (wi-fi) by supporting layers 1

and 2 of the OSI model. The Accused Echo Instrumentalities also support communications via

the Internet. “To stream music and other content through Alexa, your internet connection needs

to be at least 512 kbs.”

(https://www.amazon.com/gp/help/customer/display.html?nodeId=201973870.)

       26.     To support communications via the Internet, the Accused Echo Instrumentalities

support higher-level layer (e.g., layers 3-7) communications of the OSI model. Further, to

transmit data over the Internet, the Accused Echo Instrumentalities support transmission and

reception of TCP/IP packets.

       27.     The Accused Echo Instrumentalities include a processor and communications

components to support such higher level layer (e.g., layers 3 and above) communications. The

processor and the communications components that support the higher-level layer

communications provide a network interface that is configured to communicate through a

network communications channel (e.g., any of layers 3-7).

       28.     The Accused Echo Instrumentalities support encoded/compressed data, such as

MP3 or AAC formatted files. Furthermore, the Accused Echo Instrumentalities include a codec

(a coder/decoder). The Accused Echo Instrumentalities (e.g., via the codec) are configured to



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perform a conversion of a wireless signal (e.g., a wireless signal including a compressed audio

file (such as music), for example from a Spotify or Pandora computer server) to accommodate

production of a corresponding information item, such as by outputting audio (e.g., playing

music). For example, the Accused Echo Instrumentalities may receive a wireless signal that

includes compressed data (e.g., a compressed signal, corresponding to a MP3 or AAC file), and

the Accused Echo Instrumentalities decompress the compressed signal (e.g., the compressed

audio data) to support the playback of uncompressed audio (i.e., a song). (See, e.g.,

https://forums.developer.amazon.com/articles/38590/alexa-audioplayer-approved-formats.html.)

       29.     The Accused Echo Instrumentalities communicate with smart devices, such as

smart light switches. See, e.g., https://www.amazon.com/all-new-amazon-echo-speaker-with-

wifi-alexa-heather-gray/dp/B0749WVS7J. Furthermore, the Amazon Echo Plus has built in

smart hub functionality to communicate with smart devices, such as smart light bulbs. See, e.g.:




(See https://www.amazon.com/b?ie=UTF8&node=17238426011.)




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(https://www.amazon.com/gp/help/customer/display.html?nodeId=201749240.)




(https://developer.amazon.com/public/binaries/content/assets/html/alexa-lighting-api.html.)




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       30.     As one particular example of controlling smart devices, the Amazon Echo can

control a Philips Hue smart bulb that is connected to a Philips Hue hub. (See

https://www2.meethue.com/en-us/friends-of-hue/amazon-alexa.) The Amazon Echo Plus can

control a Philips Hue smart bulb without the need for an intermediate hub. See id. The Philips

Hue smart bulb communicates with either the Philips Hue hub (if required) or with the Amazon

Echo Plus using Zigbee, a short range wireless communication protocol. See, e.g.,

https://www2.meethue.com/en-us/p/hue-bridge/046677458478. See also, e.g.:




(https://developer.amazon.com/docs/smarthome/echo-plus-zigbee-support.html.)

       31.     The Phillips Hue smart bulb is configured to communicate (e.g., receive

commands and transmit information) via a Zigbee communication. The Accused Echo

Instrumentalities communicate, via the wi-fi network, information (e.g., about a status of the

light, such as the Philips Hue smart bulb) to a user device (e.g., a phone) that executes the Alexa

application (Alexa is a cloud-based voice control service executed by the Amazon Echo and

Echo Plus). As illustrated below, the Phillips Hue smart bulb communicates information

regarding a status of the Philips Hue smart bulb to the Amazon system (for transmission to, and

display at, a phone or other user device). The user device executing the Alexa application


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receives the information from the Accused Echo Instrumentalities and displays a status of the

light based on the information.




       32.     The network communication channel, such as via an 802.11 a/b/g/n (2.4 and 5

GHz) networks is distinct from the Zigbee communication.

       33.     The Accused Echo Instrumentalities further include a video camera (Amazon

Cloud Cam) bundled with the Echo Show to capture video and transmit it through the Echo

Show to a user’s terminal at least in part through a cellular network. The Cloud Cam and Echo

Show devices may be purchased as a bundle. The Cloud Cam works with Alexa and can be used

in conjunction with the Echo Show to view the live video feed on the Echo Show and enjoy 24/7

monitoring of the home. Furthermore, the Cloud Cam can be configured to notify a user when it

detects any video activity. See, e.g.:




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(https://www.amazon.com/Echo-Show-Amazon-Indoor-Security/dp/B076C9DLGS.)




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(https://www.amazon.com/Echo-Show-Amazon-Indoor-Security/dp/B076C9DLGS.)

        34.     Claim 1 of the ’983 patent recites an apparatus for processing a multimedia signal

to accommodate real time production of a corresponding multimedia content on a high definition

digital television, comprising an input interface to receive the multimedia signal through a

wireless communication network, a buffer to accommodate adequate buffering and processing

rate, a decoder for decompressing a received compressed signal, an encoder for encoding the

decompressed signal to produce an encoded high definition digital video signal, and a high

definition digital output interface for transmitting the encoded high definition digital video signal

in real time to a high definition digital television.

        35.     Claim 3 of the ’983 patent depends from claim 1 and further recites that the

apparatus is configured to transmit the encoded signal to the high definition digital television

through a high definition multimedia interface (HDMI) and cable.

        36.     The Accused Fire TV Instrumentalities infringe claims 1 and 3 of the ’983 patent.

The Amazon Fire TV is configured to process multimedia content to accommodate production of

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the multimedia content on a high definition television. See, e.g.:




(https://www.amazon.com/all-new-amazon-fire-tv-4k-uhd-streaming-media-

player/dp/B01N32NCPM/.)




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       37.     The Amazon Fire TV supports dual-band wi-fi for an 802.11 a/b/g/n/ac network

(e.g., a wireless communication network). To support 802.11 communications, the Amazon Fire

TV includes an input interface to receive wireless signals. (See https://www.amazon.com/all-

new-amazon-fire-tv-4k-uhd-streaming-media-player/dp/B01N32NCPM.)

       38.     The Amazon Fire TV is configured to stream multimedia content from sources

like Netflix, YouTube, and/or Amazon Prime, as examples. The multimedia content is received

by an internet connection through an 802.11 Wi-Fi network (e.g., a wireless communication

network). (See, e.g., https://www.amazon.com/all-new-amazon-fire-tv-4k-uhd-streaming-media-

player/dp/B01N32NCPM.)

       39.     Upon information and belief, to support the streaming and playing of multimedia

content, the Amazon Fire TV includes a data buffer. Upon information and belief, the data

buffer is configured to accommodate an adequate buffering and processing rate for processing in

support of production of the multimedia content at the high definition digital television (e.g., 4K

Ultra HD multimedia content may be streamed at 60 frames per second). See, e.g.:




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(https://www.amazon.com/all-new-amazon-fire-tv-4k-uhd-streaming-media-

player/dp/B01N32NCPM.)

       40.     Amazon’s Developer FAQ indicates that the Amazon Fire TV uses media

resources that include decoders. See, e.g.:




(https://developer.amazon.com/docs/fire-tv/faq-general.html.)

       41.     Furthermore, as evidenced by the list of supported formats below, the high

definition video streamed by the Amazon Fire TV includes compressed multimedia signal (e.g.,

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H.264 or H.265). To decompress the compressed high definition video signal for output via the

HDMI interface, the Amazon Fire TV must perform a conversion on the compressed high

definition video signal by converting the compressed high definition video signal to decoded

high definition video signal (e.g., decoded H.264 or H.265 data). The Amazon Fire TV is

configured to transmit the converted signals via a high definition multimedia interface (HDMI).

To support transmission of converted signal via HDMI (and based on receiving signal in a

compressed format, such as H.264 or H.265), the Amazon Fire TV includes a decoder (to

convert from the compressed signal (e.g., H.264 or H.265) to a decoded signal. See, e.g.:




(https://developer.amazon.com/docs/fire-tv/device-specifications.html.)

       42.     The Amazon Fire TV includes an HDMI interface (e.g., a high definition digital

output interface) that is connectable to an HDMI input connector of a high definition digital



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television. Thus, the Amazon Fire TV outputs multimedia signals in HDMI format. The

Amazon Fire TV receives compressed video signals via a wi-fi network, as explained above.

The received compressed signal (such as H.264 or H.265) is decoded to generate decompressed

signal, and thereafter, the decompressed signal is converted (via an encoder) to an encoded signal

for transmission through the HDMI. The output of the Amazon Fire TV is decompressed high

definition video (and audio). For example, 4K Ultra HD (e.g., decompressed video) can be

streamed at up to 60 frames per second (fps). See, e.g.:




(https://www.amazon.com/all-new-amazon-fire-tv-4k-uhd-streaming-media-

player/dp/B01N32NCPM.)

       43.     The Amazon Fire TV includes a cable that connects to an HDMI input connector

of a high definition television. Thus, the HDMI is configured to connect to the cable to transmit
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the encoded signal (e.g., the decompressed multimedia signal encoded for HDMI output). See,

e.g., https://www.amazon.com/all-new-amazon-fire-tv-4k-uhd-streaming-media-

player/dp/B01N32NCPM.

       44.     Claim 110 of the ’983 patent recites a wireless device configured to transmit,

through a wireless channel, a signal in connection with an initiation of a replenishment of an

inventory of an item, in response to an indication of an updated status of the item, and where the

transmitted signal corresponds to a unique identifier of the wireless device and information about

the inventory of the item, including a requirement of the item, is stored in a database. Claim 110

further recites that the transmitted information is recognized in connection with a successful

transmission of the signal, that shipping information is communicated through a network

communication channel, the item is associated with the wireless device, and merchant

information relevant to the replenishment of the item is sent to a user of the item.

       45.     Claim 116 depends from claim 110 and further recites that the wireless

transmission channel is through a wireless local area network.

       46.      Claim 128 of the ’983 patent recites a central controller configured to store a

unique identifier associated with an item status sensing device corresponding to an item, receive

information regarding a signal transmitted from the item status sensing device through a wireless

channel in connection with an initiation of the replenishment of an item, store information about

the inventory of the item and a requirement of the item, identify the item using a unique

identifier of the item status sensing device, and communicate merchant information and shipping

information relevant to the replenishment of the item.

       47.     Claim 130 depends from claim 128 and further recites that the signal is

transmitted in response to an automatic detection, by a sensor, of the updated status of the item.



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       48.     Claim 133 depends from claim 128 and further recites that the central controller is

configured to send information regarding the updated status of the item to a cellular phone.

       49.     Claim 134 depends from claim 128 and further recites that the wireless

transmission channel is through a wireless local area network.

       50.     The Accused Dash Instrumentalities infringe claims 110, 116, 128, 130, 133, and

134 of the ’983 patent. By way of example, the Amazon Dash Button is a Wi-Fi capable

wireless device that facilitates communication of information including, but not limited to, an

updated condition of a merchandise (e.g., a product sold by Amazon), a user identification, a

product identification, a purchase request, and/or the item status signal etc. See, e.g.:




       “Amazon Dash Button is a Wi-Fi connected device that ensures you never run out
       of your essential household, drink, grocery, healthcare, personal care, baby and pet
       products ever again. When you are running low on your favorite products at
       home, simply press Dash Button and relax while your order is fulfilled and
       delivered. You can be notified of you order confirmation through the Amazon App.
       Dash Button lets you order products immediately without needing to be reminded
       and allows you to save time by skipping the search process for your exact product.”
       Emphasis added.

(See https://www.amazon.com/Dash-Buttons/b?ie=UTF8&node=10667898011.)




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        “Amazon Dash Button is a Wi-Fi connected device that reorders your favorite
        product with the press of a button. Each Dash Button is paired with a product of
        your choice, which is selected during the set-up process. When you are running
        low, simply press Dash Button – ensuring you never run out of your essentials
        again.”
(See https://www.amazon.com/s/ref=nb_sb_noss_2?url=search-alias%3Daps&field-
keywords=amazon+dash (emphasis added.))




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(See https://www.amazon.com/Dash-Buttons/b?ie=UTF8&node=10667898011.)

      51.    By way of example, the following figures are from a teardown of the Amazon

Dash Button, model JK76PL. (See https://mpetroff.net/2015/05/amazon-dash-button-teardown.)




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       52.    The following figures are from a teardown of the Amazon Dash Button, model

JK29LP. (See https://mpetroff.net/2016/07/new-amazon-dash-button-teardown-jk29lp/.)




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       53.     Similarly, the Amazon Dash Replenishment product comprises a Wi-Fi capable

wireless device that facilitates communication of information including, but not limited to, an

updated condition of a merchandise (e.g., a product sold by Amazon), a user identification, a

product identification, a purchase request, and/or the item status signal etc. See, e.g.:




(https://developer.amazon.com/dash-replenishment-service.)




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(https://developer.amazon.com/dash-replenishment-service/getting-started.)

       54.     The Dash Button comprises a transmitter configured to transmit, through a

wireless transmission channel, a signal in connection with an initiation of a replenishment of an

inventory of an item, the signal being transmitted through the wireless transmission channel in

response to an indication of an updated status of the item, the signal comprising information

corresponding to a unique identifier of the wireless device, information about the inventory of

the item being stored in a database, a requirement of the item being included in the information

about the inventory of the item.

       55.     At least one generation of the Amazon Dash Button includes a Broadcom

BCM43362 Wi-Fi module. This wireless radio chip allows the device to connect to 802.11 b/g/n

wireless transmission channel. (See https://mpetroff.net/2015/05/amazon-dash-button-

teardown/.) Furthermore, at least one additional generation of the Amazon Dash Button includes

an Amtel ATWINC1500B Wireless Chip. This wireless radio chip allows the device to connect

to 802.11 b/g/n wireless transmission channel. (See https://mpetroff.net/2016/07/new-amazon-

dash-button-teardown-jk29lp/.) See, for example, the following figures from a teardown of the

Amazon Dash Button, model JK76PL. (https://mpetroff.net/2015/05/amazon-dash-button-

teardown.)



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       Teardown picture showing Broadcom BCM43362 Wi-Fi module. See
       https://mpetroff.net/wp-content/uploads/2015/05/dash09-front.jpg




       Close up of Broadcom BCM43362 Wi-Fi module labeled ‘U9’ included within the
       Amazon Dash Button (the wireless transmitter). See https://mpetroff.net/wp-
       content/uploads/2015/05/dash09-front.jpg

For example, FCC ID is an ID assigned by the FCC to identify wireless products. As labeled on
the external housing of the Amazon Dash Button, the FCC ID of Model JK76PL is 2ACBE-
0610.




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       (See https://fccid.io/pdf.php?id=2560779) (showing the device is 802.11b/g/n
       compatible.)

See, for example, the following figures from a teardown of the Amazon Dash Button, model
JK29LP. (https://mpetroff.net/2016/07/new-amazon-dash-button-teardown-jk29lp/.)




       Teardown picture showing Amtel ATWINC1500B Wi-Fi module.
       https://mpetroff.net/2016/07/new-amazon-dash-button-teardown-jk29lp/#rf1-2185




       Amtel ATWINC1500B Wi-Fi module labeled ‘U19’ included within the Amazon
       Dash Button (the wireless transmitter). See https://mpetroff.net/2016/07/new-
       amazon-dash-button-teardown-jk29lp/#rf1-2185


For example, FCC ID is an ID assigned by the FCC to identify wireless products. As labeled on
the external housing of the Amazon Dash Button, the FCC ID of model JK29LP is 2AETK-
1013.




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       (See https://apps.fcc.gov/eas/GetApplicationAttachment.html?id=2944085)
       (showing the device is 802.11b/g/n compatible.)

For example, the entire circuit board of the Amazon Dash Button comprises a Broadcom (model
JK76PL) or Amtel (model JK29LP) Wi-Fi module. Associated unique identifiers include, but
are not necessarily limited to, the following:

   (a) The wireless device’s media access control address (MAC address);
   (b) An identifier unique to the customer’s Amazon.com account assigned to the wireless
       device for a particular merchandise and provided to the wireless radio chip for
       transmission;
   (c) The networks SSID and password;
   (d) A Unique Device Identifier (UDID) specific to the device used to set up the wireless
       device;
   (e) An identifier unique among all Amazon.com customer accounts assigned to the Dash
       Button for a particular merchandise and provided to the wireless radio chip at least for
       transmission;
   (f) An identifier unique for particular merchandise provided to the wireless device to
       transmit purchase orders;
   (g) A serial number associated with the specific wireless device e.g., a Device Serial Number
       or DSN.
       56.    The wireless radio chip contains information of a unique identifier corresponding

to the wireless device. For example, each Amazon Dash Button possesses its own Device Serial

Number, or DSN. The DSN is visible on the external housing of the Amazon Dash Button. The

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Device Serial Number is a non-limiting example of a unique identifier corresponding to the

wireless device. The wireless radio chip contains information of a unique identifier

corresponding to the wireless device, such as the DSN. The wireless device transmits a payload

using the wireless chip. This payload includes, but is not limited to the Device Serial Number, in

addition to the measured battery voltage and the click type, as shown in the figure below.




        Discussion of Amazon IoT button, which is similar to the Dash Button. The JSON
        template contains an alphanumeric serial number called “serialNumber” which is
        19 characters long, beginning with ‘G’. This serial number is the Device Serial
        Number, which corresponds to the DSN on the outside of the Amazon Dash Button
        housing. (See http://aws.amazon.com/iot/button/.)




        Model JK76PL showing the Device Serial Number printed on the external housing.
        The DSN corresponds to the Serial Number used in the JSON template.
        (https://mpetroff.net/2015/05/amazon-dash-button-teardown/.)




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        Model JK29LP showing the Device Serial Number printed on the external housing.
        (https://mpetroff.net/2016/07/new-amazon-dash-button-teardown-jk29lp/#rf1-
        2185.)

        57.    Similarly, the Amazon Dash Replenishment product comprises a wireless radio

chip containing information of a unique identifier corresponding to the wireless device. See,

e.g.:




        (https://developer.amazon.com/dash-replenishment-service/getting-started.)




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       58.     When a particular merchandise associated with the Amazon Dash Button needs to

be reordered, the Amazon Dash Button customer presses the Dash Button’s button. In response,

the Amazon Dash Button transmits an item status signal to provide Amazon with information

regarding an updated condition of a merchandise.        Upon receipt of the item status signal,

Amazon learns their customer does not have enough desired quantity of the merchandise

associated with the Dash button and therefore additional merchandise should be shipped to the

customer.    In this manner, the item status signal transmitted by the Amazon Dash Button

provides information regarding an updated condition of a merchandise (e.g., inventory levels are

lower than desired, please ship more product).

       59.     In response to the Amazon Dash Button’s button being pushed, a wireless

communication channel is established in a local wireless communication network (e.g., a Wi-Fi

network to which the Dash Button has been configured to connect). The Dash Button first wakes

up and connects to the local wireless communication network. The Dash Button then connects to

Amazon servers through the wireless transmission channel in the local wireless communication

network and the local wireless communication network’s connection to the Internet. Finally, the

Dash Button transmits an item status signal, which includes but is not necessarily limited to,

information for the Amazon Dash Button’s unique identifier (e.g., Device Serial Number) in

association with an indication that the customer wishes to order additional merchandise

according to the preferences previously configured during the setup process.

       60.     The wireless transmission channel includes, but is not necessarily limited to, the

Wi-Fi transmission channel of the local wireless network, and/or an end-to-end connection

between the Dash Button and Amazon.com servers (e.g., at least one generation of Amazon Dash

Buttons are configured to connect to parker-gateway-na.amazon.com).



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(See
https://github.com/dekuNukem/Amazon_Dash_Button/blob/master/debug_output/successful_tra
nsaction.txt.)

       61.    The wireless transmission channel is established for transmission of the item

status signal by the Dash Button (wireless device) to Amazon servers. See, e.g.:


      ...

      WIFI_Thread
      Error 4294967295 in wiced_tls_init_root_ca_certificates
      Waiting for net needed, no clear
      *Joining : DekuNukem
      Successfully joined : DekuNukem
      Obtaining IPv4 address via DHCP
      NX_DHCP_STATE_SELECTING: Waiting for a response from any DHCP server
      NX_DHCP_STATE_REQUESTING: DHCP Server identified, IP address request sent
      NX_4 network ready IP: 192.168.191.125
      se established
      IPv4 network ready IP: 192.168.191.125
      NETWORK UP took 3222ms
      Network established time: 3224ms
      Resolving IP address of parker-gateway-na.amazon.com
      Server is at 176.32.103.77
      while loop in TRANS_Thread
      Transaction 0 is ready ... status: f0
      shTransaction ID: 1

      ...


       Showing connection to the wireless local area network (refer specifically to
       “Successfully joined: DukeNukem”; the wireless network the tested Dash
       Button is configured to connect to is DukeNukem).
       See
       https://github.com/dekuNukem/Amazon_Dash_Button/blob/master/debug_outp
       ut/successful_transaction.txt.


      ...

      HTTP send transaction attempt 1
      wiced_tcp_connect OK
      GenerateHeader: Parm1 = /2/b , Parm2 = ä0
      Tx 1.22
      Tx 2.1
      Tx 3.14
      Tx 4.0
      HTTP Status: 200
      Setting time in HTTP_SendTransFromFile: RIO_SetRTCDateTime: 0x55551cbd = 1431641277 = Thu
      May 14 22:07:57 2015


      gUpdateFirmwareFlag = 0
      SendTransaction succeeded
      endof TRANS_Thread loop
      LogMsgSendString: sending log msg (RSSI=-16dBm(5TBB), SNR=0, cspec=11019,
      sec=400004,RTT=2489ms)
      LogMsgSendString: disconnecting rx_result=2, total_length=107


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      iTOC_Pending_Rd = 1, iTOC_Next_Wr = 1Failed transactions = 0
      fgh: [TRANS] calling LogMsgSendStatus
      LogMsgSendString: sending log msg ( S=0b000000 W=02020000 A=03030101 P=01010000 F=01000000
      D=04000000 C=00000000 T=00000000)
      LogMsgSendString: disconnecting rx_result=2, total_length=107
      Transaction and logging complete...
      shutdown called
      Failed transactions = 0
      iTOC_Pending_Rd = 1, iTOC_Next_Wr = 1Failed transactions = 0
      Turning off power via latch switch


      Showing connection to Amazon servers (refer specifically to
      “wiced_tcp_connect       OK”   and  “HTTP    Status:   200).        See
      https://github.com/dekuNukem/Amazon_Dash_Button/blob/master/debug_outp
      ut/successful_transaction.txt.

       62.     Similarly, the Amazon Dash Replenishment product comprises instructions for

transmitting, though a wireless transmission channel, an item status signal to provide information

regarding an updated condition of a merchandise. The Amazon Dash Replenishment product is

capable of determining an updated condition of a merchandise (e.g., printer toner is low) and will

in response to that determination transmit, though a wireless transmission channel, an item status

signal to provide information regarding an updated condition (e.g., eventually resulting in the

placement of an replenishment purchase order).




       “Internet enabled”, showing wireless logo. “Your device can measure and
       reorder anything. Including products that your device might use or dispense like
       coffee pods or dog food. Your device can also reorder products that it counts on
       for operation like batteries for a connected smoke detector.” And “DRS works
       with any sensor or tracking mechanism, but the best experience for your
       customers is one that tracks customer usage directly. For example, a washing
       machine that tracks how much detergent is being used and can automatically

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       reorder when supplies are low. See https://developer.amazon.com/dash-
       replenishment-service/getting-started.




       “Configure your device to connect to your network using Wi-Fi or Bluetooth
       through the device companion app or website. For more information on how to
       connect your device to your network, contact your product
       manufacturer: Manufacturer Contact Information for Devices with Amazon
       Dash Replenishment.”
       (https://www.amazon.com/gp/help/customer/display.html?nodeId=201969390.)

       63.     Upon Information and belief, the purchase requirement is any or all information

required for the purchase. This includes, most notably, the selection of what item to order from

the brand labeled on the Dash Button. Meaning if the Dash Button is labeled ‘Tide’ the user

selects a Tide item to be associated with the Dash Button. The user also confirms or enters a



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shipping address, shipping method, and payment method needed for the processing of the

purchase request. See, e.g.:




        The screenshot above from the “Amazon” App shows that the user selects which
        merchandise to be assigned to the Amazon Dash Button. Currently, the user is
        limited to the brand (i.e. Tide, Bounty, etc.) labeled on the specific Amazon Dash
        Button. This is a one example of a purchase requirement.




        The screenshot above from the “Amazon” App of the Amazon Dash Button set up
        process confirming that the user account information is correct. Here the user can
        choose/enter payment method, shipping method, and shipping address to be
        associated with the wireless device. The user account is therefore associated with
        the wireless device.




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       64.     On information and belief, the purchase requirement is any or all information

required for the purchase. This includes, most notably, the selection of what item to order. The

user also confirms or enters a shipping address, shipping method, and payment method needed

for the processing of the purchase request.




       Select Dash Replenishment and login with your Amazon account. Enter the
       email address and password associated with your Amazon account, and then
       tap Sign in.\ Select the product you would like to reorder. Some devices let
       you select multiple products. Depending on the product, you may have options
       like brand, color, size, flavor, or amount.
       https://www.amazon.com/gp/help/customer/display.html?nodeId=201969390

       65.     Amazon Dash servers recognize the unique identifier corresponding to the

wireless device during a processing of a purchase request for the merchandise regarding the

updated condition based on a successful transmission of the item status signal. On information

and belief, Amazon.com servers receive information for a unique identifier corresponding to the

wireless device during a processing of a purchase request for the merchandise. The Amazon

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servers recognize the unique identifier and identify associated merchandise and/or user account.

Amazon.com recognizes the purchase request for the merchandise associated with the Amazon

Dash Button based on recognition of the unique identifier corresponding to the wireless device.

Amazon creates a purchase order so that the merchandise regarding the updated condition and

associated with the specific Amazon Dash Button can be shipped to the corresponding shipping

address. When the button is pressed, the result is that the product is shipped to a registered

shipping address, and associated payment method is processed. The purchase requirement,

payment method and shipping address are previously registered on the Amazon app for the

Amazon Dash button. Amazon recognizes the unique identifier and creates the purchase order

based on the information the user has registered for the Dash button. See, e.g.:




        The screenshots above from the “Amazon” App show the order details page and
        shipment tracking information resulting from the button press.

        66.     Similarly, in the case of Amazon Dash Replenishment products, the unique

identifier corresponding to the wireless device is recognized during a processing of a purchase

request for the merchandise regarding the updated condition based on a successful transmission

of the item status signal.

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        67.      On information and belief, information regarding a user account is communicated

through a communication channel to accommodate the processing of the purchase request. At

least one generation of the Amazon Dash Buttons are configured to communicate over a wireless

local area network to contact parker-gateway-na.amazon.com. (See

https://github.com/dekuNukem/Amazon_Dash_Button/blob/master/debug_output/successful_tra

nsaction.txt.)

        68.      On information and belief, Amazon Dash Button reorder requests are received by

this publicly addressable server, however additional information (such as the Amazon customer’s

identity, merchandise purchasing preferences, payment information and shipping address among

additional information) are required in order to fully process the purchase request to create a

purchase order for the merchandise.

        69.      On information and belief, this information is communicated through a

communication channel to accommodate the processing of the purchase request. This may

include, but is not necessarily limited to, communication of information from one or more

databases storing customer information, one or more databases storing shipping information and

one or more databases storing credit card information, including processing of credit card

transaction data. These communication channels include, but are not necessarily limited to,

network communication channels, inter-process communication channels, bus system

communication channels and any other type of communication channel.

        70.      Similarly, in the case of Amazon Dash Replenishment products, information of a

user account is communicated through a communication channel to accommodate the processing

of the purchase request. Upon information and belief, Amazon Dash Replenishment order

requests are received by an Amazon server, however additional information (such as the Amazon



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customer’s identity, merchandise purchasing preferences, payment information and shipping

address among additional information) are required in order to fully process the purchase request

to create a purchase order for the merchandise.

       71.     The wireless transmission channel established for transmission of the signal from

the Dash Button or Dash Replenishment Device is separate from the network communication

channel. The communication channel may be the channel in which information is transmitted

across and/or from Amazon servers, e.g., over the internet. On the other hand, the wireless

transmission channel is established inside a local wi-fi network when the Dash Button is set up

as follows. The Dash Button is associated with the user account in the set up process. The user

connects the Amazon Dash Button to the user account using the Amazon App. The wireless

device is connected to the portable user terminal device (e.g. an iPhone) through a

communication channel. In what is believed to the first version of the Amazon Dash Button,

model JK76PL, the wireless device communicates with the portable user terminal device through

audio packets through a communication channel. In the set up process, the portable user

terminal device transmits packetized information in the form of ultrasound from speaker to the

wireless device’s built in microphone. This packetized ultrasound contains information to

connect the Amazon Dash Button to the local internet network. In what is believed to be the

second version of the Amazon Dash Button, model JK29LP, the communication channel is a

Bluetooth wireless connection. In the set up process, the portable user terminal device transmits

information to the Amazon Dash Button to connect the wireless device to the local internet

network. (See generally, e.g., https://mpetroff.net/2016/07/new-amazon-dash-button-teardown-

jk29lp/; https://mpetroff.net/2015/05/amazon-dash-button-teardown/.)




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       72.     When a particular merchandise associated with the Amazon Dash Button needs to

be reordered, the Amazon Dash Button customer presses the Dash Button’s button. In response,

the Amazon Dash Button transmits an item status signal to provide Amazon with information

regarding an updated condition of a merchandise.         Upon receipt of the item status signal,

Amazon learns their customer does not have enough desired quantity of the merchandise

associated with the Dash button and therefore additional merchandise should be shipped to the

customer. In this manner, the items status signal transmitted by the Amazon Dash Button

provides information regarding an updated condition of a merchandise (e.g., inventory levels are

lower than desired, please ship more product).

       73.     Similarly, the wireless signal transmitter of Amazon Dash Replenishment

products is designated to transmit an item status signal to provide information regarding an

updated condition of a merchandise. The Amazon Dash Replenishment product is capable of

determining an updated condition of a merchandise (e.g., printer toner is low) and will in

response to that determination transmit, though a wireless transmission channel, an item status

signal to provide information regarding an updated condition (e.g., eventually resulting in the

placement of an replenishment purchase order).

       74.     The Accused Dash Instrumentalities further comprise a central controller housed

in Amazon’s Dash servers, such as a CPU. In response to the Amazon Dash Button’s button

being pushed, the Button connects to Amazon servers through the wireless transmission channel

in the local wireless communication network and its connection to the Internet. The Dash Button

transmits an item status signal, which includes but is not necessarily limited to, information for

the Amazon Dash Button’s unique identifier (e.g., Device Serial Number) in association with an

indication that the customer wishes to order additional merchandise according to the preferences



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previously configured during the setup process. The following is a non-limiting example of a

CPU used in Amazon servers. The actual server and CPU types used by the Dash service may

vary:




(See https://aws.amazon.com/ec2/instance-types/.)

        75.   Amazon Dash servers recognize the unique identifier corresponding to the

wireless device during a processing of a purchase request for the merchandise regarding the

updated condition based on a successful transmission of the item status signal. A memory is

inherent in the Amazon server so that they may recognize the unique identifier corresponding to

each user’s Dash Button. The memory in Amazon’s server-side CPU is further configured to


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store information about the inventory of the item being ordered by a user of a Dash Button.

Information about the item’s inventory also includes information about a requirement of the

item., The above representative example of an Amazon server illustrates the memory associated

with each type of CPU.

       76.     Amazon Dash servers include a network interface that is configured to provide a

communication to each user’s Dash Button via a network communication channel (the internet).

This network interface can be, for instance, an internet hub or gateway residing at Amazon

server facilities. On information and belief, Amazon.com servers receive information for a

unique identifier corresponding to the wireless device during a processing of a purchase request

for the merchandise. The Amazon servers recognize the unique identifier and identify associated

merchandise and/or user account. Amazon.com recognizes the purchase request for the

merchandise associated with the Amazon Dash Button based on recognition of the unique

identifier corresponding to the wireless device. Amazon creates a purchase order so that the

merchandise regarding the updated condition and associated with the specific Amazon Dash

Button can be shipped to the corresponding shipping address.

       77.     The central controller, e.g., a CPU in Amazon Dash servers, is configured to

identify the item being ordered by a user in connection with recognition of the information

corresponding to the unique identifier for the Dash Button.

       78.     The central controller, e.g., a CPU in Amazon Dash servers, is configured to

communicate, through the Internet (including through the Amazon.com website or the Amazon

mobile app) merchant information and shipping information relevant to the replenishment of the

inventory of the item ordered by a user of a Dash Button. This merchant information (pertaining




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to Amazon itself, for instance, as the merchant of the item) and shipping information for the

order is communicated to the user in the form of an order confirmation. See, e.g.:




The screenshots above from the “Amazon” App show the order details page and shipment

tracking information resulting from the button press.

       79.     Defendant has and continues to jointly infringe one or more of the asserted claims

of the ’983 patent by the collective conduct of Amazon and Vector Security, Inc. (“Vector

Security”) in making, using, offering to sell, selling, and importing the Vector Security Voice

Control system with the Amazon Echo Dot. (See, e.g.,

https://www.vectorsecurity.com/products/voice-control.) In particular, Vector Security and

Amazon have effectively formed a joint enterprise such that the infringing acts are attributable to

Vector Security, who provides a home security system with a wireless hub, and Amazon, who

provides the Echo Dot device and Alexa voice application.

       80.     On information and belief, the Accused Echo Instrumentalities, Accused Fire TV

Instrumentalities, and Accused Dash Instrumentalities are used, marketed, provided to, and/or




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used by or for each of Defendant’s partners, clients, customers and end users across the country

and in this District.

        81.     Defendant was made aware of the ’983 patent and its infringement thereof at least

as early as the filing of this Complaint.

        82.     Upon information and belief, since at least the time Defendant received notice,

Defendant has induced and continues to induce others to infringe at least one claim of the ’983

patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or willful

blindness, actively aiding and abetting others to infringe, including but not limited to

Defendant’s partners, clients, customers, and end users, whose use of the Accused Echo

Instrumentalities, Accused Fire TV Instrumentalities, and Accused Dash Instrumentalities

constitutes direct infringement of at least one claim of the ’983 patent.

        83.     In particular, Defendant’s actions that aid and abet others such as its partners,

customers, clients, and end users to infringe include advertising and distributing the Accused

Echo Instrumentalities, Accused Fire TV Instrumentalities, and Accused Dash Instrumentalities

and providing instruction materials, training, and services regarding the Accused Echo

Instrumentalities, Accused Fire TV Instrumentalities, and Accused Dash Instrumentalities. On

information and belief, Defendant has engaged in such actions with specific intent to cause

infringement or with willful blindness to the resulting infringement because Defendant has had

actual knowledge of the ’983 patent and knowledge that its acts were inducing infringement of

the ’983 patent since at least the date Defendant received notice that such activities infringed the

’983 patent.

        84.     Upon information and belief, Defendant is liable as a contributory infringer of the

’983 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United



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States wireless hub systems, wireless transmitters, central controllers, management centers

systems, and information processing devices to be especially made or adapted for use in an

infringement of the ’983 patent. The Accused Echo Instrumentalities, Accused Fire TV

Instrumentalities, and Accused Dash Instrumentalities are a material component for use in

practicing the ’983 patent and are specifically made and are not a staple article of commerce

suitable for substantial non-infringing use.

           85.   Since at least the filing of this Complaint, Defendant’s infringement has been

willful.

           86.   Plaintiff has been harmed by Defendant’s infringing activities.

                 COUNT II – INFRINGEMENT OF U.S. PATENT NO. 9,729,918

           87.   The allegations set forth in the foregoing paragraphs 1 through 86 are

incorporated into this Second Claim for Relief.

           88.   On August 8, 2017, U.S. Patent No. 9,729,918 (“the ’918 patent”), entitled

“METHOD AND SYSTEM FOR EFFICIENT COMMUNICATION,” was duly and legally

issued by the United States Patent and Trademark Office. A true and correct copy of the ’918

patent is attached as Exhibit 2.

           89.   The inventions of the ’918 patent resolve technical problems related to the use of

a multi-function wireless hub and management center system for information processing. For

example, the ’918 patent overcomes limitations in the prior art relating to efficiently delivering

multimedia information content received over a wireless communication network.

           90.   The inventions allow a user to efficiently set up a system comprising a hub and

management center system to communicate with each other to facilitate retrieval of a

compressed information content requested from the hub and production by a digital television.



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Furthermore, the inventions of the ’918 patent enable a user to pair a variety of wireless hubs

with a variety of management center systems to provide increased cross-platform compatibility.

       91.     The claims of the ’918 patent recite an invention that is not merely the routine or

conventional use of a wireless hub or management center system. Instead, the invention relies

on using a mapping table and a unique hub identifier to efficiently process incoming requests for

multimedia content and route decompressed content to the appropriate destination. The ’918

patent claims thus how signals are received and transmitted over a plurality of network channels.

       92.     The technology claimed in the ’918 patent does not preempt all ways of using

wireless hub or management center based information content processing or decoding, nor

preempt the use of all wireless hub or management center based information content processing

or decoding systems, nor preempt any other well-known or prior art technology.

       93.     Accordingly, each claim of the ’918 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

       94.     Plaintiff is the assignee and owner of the right, title and interest in and to the ’918

patent, including the right to assert all causes of action arising under said patents and the right to

any remedies for infringement of them.

       95.     Upon information and belief, Defendant has and continues to directly infringe at

least claim 135 of the ’918 patent by making, using, selling, importing and/or providing and

causing to be used a system that includes its backend servers, Amazon Echo devices, and/or the

Amazon Fire TV family of devices (i.e., the “Accused Echo Instrumentalities” and “Accused

Fire TV Instrumentalities”).




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       96.     In particular, claim 135 of the ’918 patent recites a management center system

and a wireless hub associated with a unique hub identifier, wherein the wireless hub is

configured to receive a request for a particular information content and send a data package to

the management center to retrieve the requested information content. Claim 135 further recites

that the wireless hub is configured to decompress signals corresponding to the information

content and process the signals for transmission through a high definition multimedia interface

(HDMI) to accommodate production on a digital television.

       97.     The Accused Echo Instrumentalities and Accused Fire TV Instrumentalities

infringe claim 135 of the ’918 patent. By way of example, Amazon’s backend servers for the

Fire TV family function as a management center and the Amazon Echo as a wireless hub. The

Amazon Echo communicates with Amazon backend servers to perform various operations. The

Amazon Echo acts as a wireless hub in various ways, including, for example, by interacting

directly and/or indirectly with smart home devices. See, e.g., https://www.amazon.com/all-new-

amazon-echo-speaker-with-wifi-alexa-dark-charcoal/dp/B06XCM9LJ4.

       98.     Upon information and belief, the Amazon Echo has a unique identifier that is

stored in at least one mapping table. For example, a user’s Fire and Echo devices are linked to

the user’s Amazon account, which indicates that the Amazon backend servers maintain a

mapping table between device identifiers and Amazon account IDs. See, e.g.:




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       99.     Service profile information of the user’s Amazon account, such as the

online/offline status of the user’s Echo/Fire devices, is stored in at least one database. See, e.g.:




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       100.    Devices registered to the user’s account are also viewable online at the Amazon

website.




(https://www.amazon.com/hz/mycd/myx#/home/devices/1.)

       101.    The Amazon Echo can play music requested by a user. For example, a user can

say “Play [song/album/artist]” to the Echo. The statement “Play [song/album/artist]” is a request

for particular information content that is received by the Echo. In the case where the song is

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available from the user’s Amazon music account, the Echo sends a data package (e.g., song

request) to the Amazon backend servers (management center system) through a wireless

communication network (e.g., including the user’s wireless LAN) based on the “Play

[song/album/artist]” request. Further, the user can select a specific Echo device to play the

music, indicating that the unique identifier of the selected Echo device is included in the request.

See, e.g., https://www.amazon.com/gp/help/customer/display.html?nodeId=201601830.

       102.    The Amazon backend server(s) process the music request, including identifying

the specific Echo devices where playback is to occur. If a device group name is provided, then

the devices within the device group are recognized. See, e.g.:




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(https://www.theverge.com/2017/8/29/16219978/amazon-echo-multi-room-music-playback-

how-to.)

       103.    The Amazon Echo receives the requested song audio, which is compressed (e.g.,

in MP3 or another digital music compression format supported by the Echo). An audio codec

within the Echo converts a signal of the requested song audio into a format that is playable on the

Echo speaker (accommodate production of the particular information content). The Amazon

Echo includes, among other components, an audio codec (e.g., a coder/decoder) for

decompression and playback of compressed audio signals. See, e.g.:




(https://www.ifixit.com/Teardown/Amazon+Echo+Teardown/33953, evidencing Texas
Instruments (TLV320DAC3203); see also http://www.ti.com/lit/ds/symlink/tlv320dac3203.pdf.)

       104.    The Amazon Echo supports various encoded/compressed data formats. The

Amazon Echo decompresses the signal during playback. See, e.g.:




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(https://forums.developer.amazon.com/articles/38590/alexa-audioplayer-approved-formats.html.)

        105.   The Amazon Echo can also be used to control a Fire TV device. For example, the

Amazon Echo can receive a request “Play [title] on [app].” The requested video stream is

multimedia information content (e.g., includes both audio and video) and is to be produced by a

digital television that is connected to the Fire TV device. On information and belief, the Amazon

backend server processes the user’s video request in association with transmission of the video

stream to the Fire TV devices. Fire TV devices are connected to digital televisions via HDMI.

See, e.g.:




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(https://www.amazon.com/Stick-Basic-Available-Non-US-Customers/dp/B01ETRGE68.)




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(https://www.amazon.com/all-new-amazon-fire-tv-4k-uhd-streaming-media-

player/dp/B01N32NCPM.)

       106.    On information and belief, the Accused Echo Instrumentalities and Accused Fire

TV Instrumentalities are used, marketed, provided to, and/or used by or for each of Defendant’s

partners, clients, customers and end users across the country and in this District.

       107.    Defendant was made aware of the ’918 patent and its infringement thereof at least

as early as August 8, 2017.

       108.    Upon information and belief, since at least the time Defendant received notice,

Defendant has induced and continues to induce others to infringe at least one claim of the ’918

patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or willful


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blindness, actively aiding and abetting others to infringe, including but not limited to

Defendant’s partners, clients, customers, and end users, whose use of the Accused Echo

Instrumentalities and Accused Fire TV Instrumentalities constitutes direct infringement of at

least one claim of the ’918 patent.

       109.    In particular, Defendant’s actions that aid and abet others such as its partners,

customers, clients, and end users to infringe include advertising and distributing the Accused

Echo Instrumentalities and Accused Fire TV Instrumentalities, and providing instruction

materials, training, and services regarding the Accused Echo Instrumentalities and Accused Fire

TV Instrumentalities . On information and belief, Defendant has engaged in such actions with

specific intent to cause infringement or with willful blindness to the resulting infringement

because Defendant has had actual knowledge of the ’918 patent and knowledge that its acts were

inducing infringement of the ’918 patent since at least the date Defendant received notice that

such activities infringed the ’918 patent.

       110.    Upon information and belief, Defendant is liable as a contributory infringer of the

’918 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States management center systems and wireless hubs to be especially made or adapted for use in

an infringement of the ’918 patent. The Accused Echo Instrumentalities and Accused Fire TV

Instrumentalities are a material component for use in practicing the ’918 patent and are

specifically made and are not a staple article of commerce suitable for substantial non-infringing

use.

       111.    Since at least August 8, 2017, Defendant’s infringement has been willful.

       112.    Plaintiff has been harmed by Defendant’s infringing activities.




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              COUNT III – INFRINGEMENT OF U.S. PATENT NO. 9,942,798

       113.      The allegations set forth in the foregoing paragraphs 1 through 112 are

incorporated into this Third Claim for Relief.

       114.      On April 10, 2018, U.S. Patent No. 9,942,798 (“the ’798 patent”), entitled

“METHOD AND SYSTEM FOR EFFICIENT COMMUNICATION,” was duly and legally

issued by the United States Patent and Trademark Office. A true and correct copy of the ’798

patent is attached as Exhibit 3.

       115.      The inventions of the ’798 patent resolve technical problems related to the use of

a multi-function wireless hub and management system for information processing. For example,

the ’798 patent overcomes limitations in the prior art relating to efficiently delivering multimedia

information content received over a wireless communication network. Furthermore, the ’798

patent overcomes limitations in the prior art relating to managing alerts as to a status of an item

over the internet or other next-generation wireless communication network.

       116.      The inventions of the ’798 patent allow a user to efficiently set up a system

comprising a hub and management center system to communicate with each other to facilitate

retrieval of a compressed information content requested from the hub and production by a digital

television. Furthermore, the inventions of the ’798 patent enable a user to pair a variety of

wireless hubs with a variety of management center systems to provide increased cross-platform

compatibility.

       117.      The inventions of the ’798 patent allow a user to efficiently set up a system

comprising a hub and one or more sensors capable of sensing the status of an item, such that the

hub can detect which of the plurality of sensors has sensed an updated status and notify a user

device accordingly. Furthermore, the inventions of the ’798 patent enable a user to pair a variety



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of sensors supporting a wide range of short-range communications to provide increased

compatibility with the hub.

       118.    The claims of the ’798 patent recite an invention that is not merely the routine or

conventional use of a wireless hub or management center system. Instead, the invention relies

on using a network interface and a wireless channel concurrently to both decompress a

compressed information signal and to communicate information regarding the item status of an

item in connection with an updated status of the item. The ’798 patent claims thus specify how

signals are received and transmitted over both channels to perform both functions.

       119.    The technology claimed in the ’798 patent does not preempt all ways of using

wireless hub based decoding or monitoring systems, nor preempt the use of all wireless hub

based decoding or monitoring systems, nor preempt any other well-known or prior art

technology.

       120.    Accordingly, each claim of the ’798 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

       121.    Plaintiff is the assignee and owner of the right, title and interest in and to the ’798

patent, including the right to assert all causes of action arising under said patents and the right to

any remedies for infringement of them.

       122.    Upon information and belief, Defendant has and continues to directly infringe at

least claim 1 of the ’798 patent by making, using, selling, importing and/or providing and

causing to be used a management system, including but not limited to the Accused Echo

Instrumentalities, the Accused Fire TV Instrumentalities, and the Amazon Fire HD family of

tablets (the “Accused Tablet Instrumentalities”).



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       123.    In particular, claim 1 of the ’798 patent recites a management system comprising

a centralized hub system, further comprising an encoder and decoder, wherein the hub system is

configured to receive an compressed signal for a requested information content over a wireless

network, decompress it, and encode the decompressed signal for transmission over a high

definition digital output interface to accommodate production the requested information content

on a high definition digital television. The hub system is further configured to communicate

information for managing an item status of a household item in connection with a short range

wireless communication regarding an updated status of the item.

       124.    The Accused Echo Instrumentalities, the Accused Fire TV Instrumentalities, and

the Accused Tablet Instrumentalities infringe claim 1 of the ’798 patent. By way of example,

Amazon’s Fire tablets (such as the exemplary Fire HD 10) can be mirrored through Amazon’s

Fire TV devices, such as the Fire TV Stick on a digital television.

       125.    The Fire HD 10 and/or Fire TV devices support various video and audio codecs

(encoders/decoders). See, e.g.:




(https://developer.amazon.com/docs/fire-tablets/ft-media-specs-custom.html.)



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       126.    On information and belief, the Fire HD 10

tablet and Fire TV devices are each associated with a unique

identifier that is stored in at least one mapping table. For

example, a user’s Fire and Echo devices are linked to the

user’s Amazon account, which indicates that Amazon

maintains a mapping table between device identifiers and

Amazon account IDs. As yet another example, because the

Fire HD 10 can be used to stream video, a network address of

the Fire HD 10 is stored in a mapping table (e.g., LAN IP

address table). Furthermore, the Fire HD 10 tablet includes

video streaming apps, such as Netflix. See, e.g.:




(https://www.thestreet.com/story/13393429/1/amazon-fire-hd-10-review-plenty-to-like-but-is-it-
enough.html.)

       127.    When a user streams video (e.g., Netflix, Amazon Prime Video, etc.), the Fire HD

10 and/or Fire TV devices wirelessly receive information content (e.g., video stream data). The

information content is requested by the user because the user selects what video to watch. The

request is made in connection with identifying the unique identifier (e.g., LAN IP address) of the


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Fire HD 10 and/or Fire TV devices, so that the video stream packets can be successfully

delivered. The video stream is a compressed digital video signal, such as H.264 or MP4. See,

e.g.:




        128.   The Fire HD 10 and/or Fire TV devices perform the conversion for production of

the requested information content on a high definition digital television. For example, the Fire

HD 10 tablet can wirelessly mirror to a Fire TV stick. On information and belief, because the

streamed video is displayed on the Fire HD 10, the Fire HD 10 decompresses the received

compressed digital video (e.g. H.264 or MP4) signal to a decompressed video signal that is

shown on the Fire HD 10’s display screen. The decompressed video is concurrently mirrored to

the Fire TV Stick. See, e.g.:




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(https://www.amazon.com/gp/help/customer/display.html?nodeId=201453020.)

       129.   The Fire HD 10 and/or Fire TV devices are configured to have Amazon’s Alexa

voice app installed. The Alexa App can be used to control smart home devices. See, e.g.:




(https://www.amazon.com/gp/help/customer/display.html?nodeId=202083830.)




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(https://www.amazon.com/gp/help/customer/display.html?nodeId=201749240.)




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(https://developer.amazon.com/public/binaries/content/assets/html/alexa-lighting-api.html.)

       130.    As one particular example of controlling smart devices, Alexa can control a

Philips Hue smart bulb that is connected to a Philips Hue hub. Each bulb has a unique identifier

that is used to communicate with the bulb. See, e.g.:




(https://www2.meethue.com/en-us/friends-of-hue/amazon-alexa.)




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(https://www.developers.meethue.com/documentation/getting-started.)

       131.    The Philips Hue hub communicates with the Philips Hue smart bulb using Zigbee,

a short range wireless communication protocol. See, e.g.:




(https://www2.meethue.com/en-us/p/hue-bridge/046677458478.)

       132.    Information such as the status of a Philips Hue smart bulb, for example, is

communicated to the Alexa app on the Fire HD 10, which displays a status of the smart bulb

based on the information. See, e.g.:




(https://www.digitaltrends.com/tablet-reviews/amazon-fire-hd-10-2017-review/.)

       133.    On information and belief, the Accused Echo Instrumentalities, the Accused Fire

TV Instrumentalities, and the Accused Tablet Instrumentalities are used, marketed, provided to,

and/or used by or for each of Defendant’s partners, clients, customers and end users across the

country and in this District.

       134.    Defendant was made aware of the ’798 patent and its infringement thereof at least

as early as the filing of this Complaint.

       135.    Upon information and belief, since at least the time Defendant received notice,

Defendant has induced and continues to induce others to infringe at least one claim of the ’798

patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or willful

blindness, actively aiding and abetting others to infringe, including but not limited to

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Defendant’s partners, clients, customers, and end users, whose use of the Accused Echo

Instrumentalities, the Accused Fire TV Instrumentalities, and the Accused Tablet

Instrumentalities constitutes direct infringement of at least one claim of the ’798 patent.

           136.   In particular, Defendant’s actions that aid and abet others such as its partners,

customers, clients, and end users to infringe include advertising and distributing the Accused

Echo Instrumentalities, the Accused Fire TV Instrumentalities, and the Accused Tablet

Instrumentalities and providing instruction materials, training, and services regarding the

Accused Echo Instrumentalities, the Accused Fire TV Instrumentalities, and the Accused Tablet

Instrumentalities . On information and belief, Defendant has engaged in such actions with

specific intent to cause infringement or with willful blindness to the resulting infringement

because Defendant has had actual knowledge of the ’798 patent and knowledge that its acts were

inducing infringement of the ’798 patent since at least the date Defendant received notice that

such activities infringed the ’798 patent.

           137.   Upon information and belief, Defendant is liable as a contributory infringer of the

’798 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States management systems and centralized hub systems to be especially made or adapted for use

in infringement of the ’798 patent. The Accused Echo Instrumentalities, the Accused Fire TV

Instrumentalities, and the Accused Tablet Instrumentalities are a material component for use in

practicing the ’798 patent and are specifically made and are not a staple article of commerce

suitable for substantial non-infringing use.

           138.   Since at least the filing of this Complaint, Defendant’s infringement has been

willful.

           139.   Plaintiff has been harmed by Defendant’s infringing activities.



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               COUNT IV – INFRINGEMENT OF U.S. PATENT NO. 9,723,443

        140.    The allegations set forth in the foregoing paragraphs 1 through 139 are

incorporated into this Fourth Claim for Relief.

        141.    On August 1, 2017, U.S. Patent No. 9,723,443 (“the ’443 patent”), entitled

“SYSTEM AND METHOD FOR PROVIDING LOCALLY APPLICABLE INTERNET

CONTENT WITH SECURE ACTION REQUESTS AND ITEM CONDITION ALERTS,” was

duly and legally issued by the United States Patent and Trademark Office. A true and correct

copy of the ’443 patent is attached as Exhibit 4.

        142.    The inventions of the ’443 patent resolve technical problems related to the use of

a wireless transmitter and a central controller for facilitating electronic communications. For

example, the ’443 patent overcomes limitations in the prior art relating to efficiently transmitting

a signal to increase household inventory of an item and processing a purchase request for the

item.

        143.    The inventions of the ’443 patent allow a user to efficiently set up a system

comprising a wireless transmitter and a central controller to facilitate secure receipt and

performance of action requests such as payment requests. Furthermore, the claims of the ’443

patent recite an invention that is not merely the routine or conventional use of a wireless

transmitter or central controller. A stated advantage is that the ’443 patent recites a secure

communication channel separate from a short range wireless communication channel, thereby

providing greater bandwidth and range to accommodate additional, more detailed

communications related to the action request.

        144.    The technology claimed in the ’443 patent does not preempt all ways of using

systems comprising wireless transmitters and central controllers to facilitate order processing

based on a received signal corresponding to a household inventory of an item, nor preempt the
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use of all wireless transmitters and central controllers, nor preempt any other well-known or

prior art technology.

       145.    Accordingly, each claim of the ’443 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

       146.    Plaintiff is the assignee and owner of the right, title and interest in and to the ’443

patent, including the right to assert all causes of action arising under said patents and the right to

any remedies for infringement of them.

       147.    Upon information and belief, Defendant has and continues to directly infringe at

least claims 1 and 29 of the ’443 patent by making, using, selling, importing and/or providing

and causing to be used a management system, including but not limited to the Accused Dash

Instrumentalities.

       148.    In particular, claim 1 of the ’443 patent recites a system comprising a central

controller, a wireless transmitter, and a memory. The wireless transmitter is configured to

transmit an item status signal in connection with an initiation of the replenishment of an item.

The memory is configured to store a unique identifier associated with the item and the central

controller is configured to receive the item status signal and, identify the item using the unique

identifier, and communicate information for processing a purchase request for the item, including

shipping payment and address information, and send a confirmation regarding the processing of

the purchase request.

       149.    Claim 29 of the ’443 patent recites a wireless device configured to transmit,

through a wireless channel, a signal in connection with an initiation of an increase of household

inventory of an item, in response to an indication of an updated status of the item, and where the



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transmitted signal corresponds to a unique identifier of the wireless device and information about

the inventory of the item is stored in a database. Claim 110 further recites that the transmitted

information is recognized in connection with a successful transmission of the signal, that

information of a user account is communicated through a network communication channel, and

the item is associated with the wireless device.

       150.    For the reasons set forth in Paragraphs 50 through 78, supra, the Accused Dash

Instrumentalities infringe claims 1 and 29 of the ’443 patent.

       151.    On information and belief, the Accused Dash Instrumentalities are used,

marketed, provided to, and/or used by or for each of Defendant’s partners, clients, customers and

end users across the country and in this District.

       152.    Defendant was made aware of the ’443 patent and its infringement thereof at least

as early as August 8, 2017.

       153.    Upon information and belief, since at least the time Defendant received notice,

Defendant has induced and continues to induce others to infringe at least one claim of the ’443

patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or willful

blindness, actively aiding and abetting others to infringe, including but not limited to

Defendant’s partners, clients, customers, and end users, whose use of the Accused Dash

Instrumentalities constitutes direct infringement of at least one claim of the ’443 patent.

       154.    In particular, Defendant’s actions that aid and abet others such as its partners,

customers, clients, and end users to infringe include advertising and distributing the Accused

Dash Instrumentalities and providing instruction materials, training, and services regarding the

Accused Dash Instrumentalities. On information and belief, Defendant has engaged in such

actions with specific intent to cause infringement or with willful blindness to the resulting



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infringement because Defendant has had actual knowledge of the ’443 patent and knowledge that

its acts were inducing infringement of the ’443 patent since at least the date Defendant received

notice that such activities infringed the ’443 patent.

        155.    Upon information and belief, Defendant is liable as a contributory infringer of the

’443 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States wireless transmitters and central controllers to be especially made or adapted for use in

infringement of the ’443 patent. The Accused Dash Instrumentalities are a material component

for use in practicing the ’443 patent and are specifically made and are not a staple article of

commerce suitable for substantial non-infringing use.

        156.    Since at least August 8, 2017, Defendant’s infringement has been willful.

        157.    Plaintiff has been harmed by Defendant’s infringing activities.

                                         JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a trial by

jury on all issues triable as such.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment for itself and against Defendant as follows:

        A.      An adjudication that Defendant has infringed the ’983, ’918, ’798, and ’443

patents;

        B.      An award of damages to be paid by Defendant adequate to compensate Plaintiff

for Defendant’s past infringement of the ’983, ’918, ’798, and ’443 patents and any continuing

or future infringement through the date such judgment is entered, including interest, costs,

expenses and an accounting of all infringing acts including, but not limited to, those acts not

presented at trial;



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       C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

Plaintiff’s reasonable attorneys’ fees; and

       D.      An award to Plaintiff of such further relief at law or in equity as the Court deems

just and proper.


Dated: July 5, 2018                           DEVLIN LAW FIRM LLC



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